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          A O 4 4 0 ( Re v. 0 6 1 1 2 ) Su m m o ns i n a C i vil Ac tio n


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                      A l a w s uit h as b e e n fil e d a g ai nst y o u.

                      Wit hi n 2 1 d a y s aft er s er vi c e of t his s u m m o ns o n y o u ( n ot c o u nti n g t h e d a y y o u r e c ei v e d it ) - or 6 0 d a y s if y o u
        ar e t h e U nit e d St at es or a U nit e d St at es a g e n c y, or a n offi c er or e m pl o y e e of t h e U nit e d St at es d e s cri b e d i n F e d. R. Ci v.
        P. 1 2 ( a)( 2) or ( 3) - y o u m u st s er v e o n t h e pl ai ntiff a n a ns w er t o t h e att a c h e d c o m pl ai nt or a m oti o n u n d er R ul e 1 2 of
        t h e F e d er al R ul e s of Ci vil Pr o c e d ur e. T h e a ns w er or m oti o n m ust b e s er v e d o n t h e pl ai ntiff or pl ai ntiff s att or n e y ,
        w h o s e n a m e a n d a d dr ess ar e:               C O/      f <. / o vf C
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                  Jf y o u f ail t o r es p o n d , j ud g m e nt b y d ef a ult will b e e nt er e d a g ai n st y o u f or t he r eli ef d e m a n d e d i n t he c o m pl a i nt.
        Y o u als o m ust fil e y o ur a n s w er or m oti o n wit h th e c o urt.



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                                                            , a p er s o n of s uit a bl e a g e a n d di s cr eti o n w h o r e si d e s t h er e,
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            o n (d at e ) _ _ _ _ _ _ _ , a n d m ail e d a c o p y t o t h e i n 1i vi d ~ al' s last _ _.~ o _ w ~ a _ d ~fjj ~ .....        1\ r'
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